Case 1:89-cv-01111-SOH Document 35-12                                    Filed 08/14/16 Page 1 of 10 PageID #: 107




 APPLICATION FOR TRANSFER TO A NONRE
     ,'AKKANSAS PUBLIC SCHOOL
                                    CHOICE ACT OF 2015"
           (kIust Be Submiaed n Non-Sesident Distic[
APPLICANT TTTONMArION
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Student Name:
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Does the applicant require special needs or prograrns?          V"s   l_f---No'[f
ls applicant cunently under      expulsion?   Yes               No
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2 or More Races
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NONRESIDENT SCHOOL DISTRIC:T AI'PLICANT WISHES TO ATTEND

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District Namei

Address:
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Phone:
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Does the applicant already have a sibling or step-sibling in attendance in this district pursuant to rhe fuUtic Sitr_oot Choice
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Act of 2013 or the Publ:


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 Case 1:89-cv-01111-SOH Document 35-12                                    Filed 08/14/16 Page 2 of 10 PageID #: 108




PARENT OR GUARDIAN INT'ORMATION

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Pursudqt to srandards adopied by a nonrcsi(g)$chool board a nonresident districl rnay reserve the right to acccpt and
relecr aillicanls based on capaciry of programs, class, grade level, or schootbuilcling. Likervise, a nonresident clistrict's
standards may provide for the rejection of an applicant based upon the submission of falseormisleading infbrrnation to
the above listed request for irrfornration when that information directly impacls the legal qualifications of an applicant to
transf'er pursuant to the School Choice Acl. However. a nonresidenl district's standards shall not include an applicanl's
previous academic achievernent, atlrletic or other extracLrrricular ahility, handicapping conditions, English proficierrcy
lcvcl, or prcvious disciplirrary proceedings, cxcept thal an expulsion from another districl rnay be included pursuant to
Ark. Code Ann. g 6- l E-5 I0. Priority n,ill bc given to applicants with siblirtgs or step-siblings attcnding thc district. Tlrc
nonresidenl district slull accepl credits loward graduation that were awarded by another district and award a diploma to a
nonresidenl applicant if the applicanl meels the nonresident district's gradualion requirentents. This application must be
filed in lhe nonresident district or poslmarked no later lhan May I of the year in which the applicant would begin tlte fall
semesler ar llre nonresiderrt district. A student u,hose application for transler is rejected by the norrresident district nray
requesl a hearing before the State Board of Education to reconsider the transf'er by filing such a request in rvriting wilh the
Commissiorrer of Education no later tlmrr tcn (10) days aftcr the sludenl or sludent's parcnt rcccivcs a nolicc of rcjection.
(Consult Ark. Code Ann. g 6-18-1905 and the Arkansas Departrnent of Edrrcation Rules Governing the Public School
Choice Act ot20l5 lor specific procedures on how to file such an appeal).

                                                      DISTRICT USE ONLY
Date and Time Received by Resident Dislrict:                             Dale and Time Received by Nonresident District:

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Date   Notifica,t?)?:     t7 Parent/Guardian of Applicant:

Date Notification Sent to Resident Districl
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 Case 1:89-cv-01111-SOH Document 35-12                               Filed 08/14/16 Page 3 of 10 PageID #: 109




APPLICATION FOR TRANSFER TO A NONRESIDENT DISTRICT
    $ARKANSAS PUBLIC SCHOOL CHOICE ACT OT 2U5"
          'k{ust Be Suhmitted ts Non-Resident District,
APPLICANT TNFORMATION

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Student Date of Birth:
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Does the applicant require special needs or prograrns? Yes

Is applicant currently under     expulsion?        Yes
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RESIDENT SCHOOL DISTRICT OF APPLTCANT
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NONRESIDENT SCHOOL DISTRICT APPLICANT WISHES TO ATTEND


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Does the applicant already have a sibling or step-sibling in allendance-in this district.pursuarrt to the Public

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 Case 1:89-cv-01111-SOH Document 35-12                              Filed 08/14/16 Page 4 of 10 PageID #: 110




PARENT OR GtI,dRt}IAN INFORMATION

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rejecr apli(ants based on capacily of prograrnsLJltss. grade level. or sshool buildirrg. Likewisc, a nonrcsidcnt district's
standards may provide fbr tlre re.yection of an applicant based upon the submission of false or misleading infonnalion to
the above listed request for inforrnation rvhen that information directly irnpacls the legal qualifications of arr applicant to
transfer pursuant to the School Clroice Act. l-lowever, a nonresident district's standards shall not include an applicant's
;:revious acadernic achievenrent, athletic or ollrer extracurricular ability, handicapping conditions, Englislr proficiencS'
level, or previous disciplinary proceedings. except that an expulsion from another district may be included pursuant to
Ark.CodcAnrr.g6-l8-510. Priorityrvill bcgivcntoapplicantsrvithsiblingsorstcp-siblingsattcndingthcdislrict.                 The
nonresident district shall accepl credits toward graduation that were awarded by another district and award a diploma to a
nonresident applicant if the applicant meels lhe nonresident district's gradtration requirements. This application tnust be
filed in the nonresident district or postmarked no later lhan May I of the year in which the applicant rvould hegin the fail
semester al the nonresident district. A sludent whose application lor traltsfer is rejected by the nonresident district may
request a lrcaring before the State Board of Education to reconsider the tlansfer by filing such a request in rvriting with thc
Comnrissioncr of Educalion no latcr tharr tcn ( l0) days aftcr the studcnt or sludcnt's parenl reccives a notice of rcjection.
(Consult Ark. Code Ann. g 6-lE-1905 and the Arkansas D€pafimeut of Education Rules Coverning the Public School
Choice Act of 2015 for specilic procedures on horv to file suclt an appeal).

                                                  DIS'I'RICI' USE ONLY
Date and Time Received b1' Resident District:                      Dale and Tirne Received by Nonresident District

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Resident District LEA #:                                           Nonresident Disrict LEA#:
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Sludent's State ldentiflcation #:
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Application                 AccePted                    Rejected      v

Reason for Reiection   (lf Applicable):
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Date Notification Sent to PBrenUGuardian of Applicant:
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Date Notification Sent to'Resident District
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APPLICATION FOR TRANSFER TO A NONRESIDENT DISTRICT
    ,,ARKANSAS PUBLIC SCHOOL CHOICE ACT OF 2015"
          (Must Be Submitted to Non-Resident District)
APPLICANT INFORMATION

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Sludent Name:

Sludenl Date of
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Does the appJlcant iequire special reeds or programs?   Yes     No[y[-"
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Is appliclnt currenlly under expulsi0n?         Yes   LJ No l-ld
STHNTC ORIGIN (CHECK ON3)
2 or More Races n
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Hispanic       n
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RESIDENT SCHOOL DISTRICT OF APPLICANT


                                                                   County Name:
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Address:

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NONRESIDENT SCHOOL DISTRICT APPLICANT WISHES TO ATTEND


District Name:
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Address:

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Docs thc applicant already havc a siblirrg or step-sibling irr attendance in this district pursuanl to the Ptrblic School Choice
Acr of 2013 or rhc Public School Choicc Act ur-201 5? l/\Lb        r &t{-5-8fd>           hilv( U*vtLttt.P(-          St'rcl-

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Case 1:89-cv-01111-SOH Document 35-12                                Filed 08/14/16 Page 6 of 10 PageID #: 112




PARENT OR GUARI}IAN INT'ORMATION

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         M,        Signature                                                                              Date:


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reject   ap[ants   basedl on capacity   of programs, cla\er-]dde level, or school building. Likcrvise, a nonrcsident district's
standards may providc for thc rejection of an applicant bascd upon the submission of false or misteading information to
the above listed request for information when that information directly impacts the legal qualifications of an applicant lo
transfer pursuanl to the School Choice Act, However, a nonresident district's slandards shall nol include an applicant's
previous acadenric achievemenl, athlctic or other extracurricular ability, handicapping conditions, English proficiency
level, or previous disciplinary proceedings, excepl that an expulsion from another district may be included pursuant lo
Ark. Code Ann. $ 5- 18-5 I 0. Priority will be given lo applicants with siblings or step-siblings attending the district. Thc
nonresident district shall acccpt credits towand graduotion that wcrc awarded by arrother district and awartl a diploma to a
nonresident applicant if the applicant meels the nonresident district's graduation requirements. 1'his application must be
filed in the nonresident district or postmarked no later than May I of the year in rvhich the applicant would begin the fall
semester al the nonresident district. A student whose application for transfer is rejecled by the nonresident district may
request a hearing before the State Board of Education to reconsider the transfer by filing such a request in writing with the
Commissioner of Education rro later than ten (10) days afier the student or student's parenl receives a notice of rejection.
(Consuh Ark. Code Ann. $ 6-18-1905 and thc Arkansas Dcpartmcnt of Education Rulcs Coverning Lhe Public School
Clroicc Act of 2015 for specific proccdures on how lo file such an appeal).

                                                    DISTRICT USE ONLY
Dale and Time Received by Resident District:                        Date and Time Received by Nonresident         Distict:
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Resident District LEA #:                                            Nonresident District LEA#:
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Srudenl's State Identification #:

Application                Accepted                       Rejected |   {
Reason for Rejection   (lf Applicable):
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Date Notificalion Sent to Parent/Cuardian of Applicant:
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Case 1:89-cv-01111-SOH Document 35-12                           Filed 08/14/16 Page 7 of 10 PageID #: 113

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                                           GENERAL DIVISION
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   Office of the Commissioner
  Attn: Arkansas Pubic School of Choice Acts of Appeal
   tour Capitol Mall                                                    DEP{R}fiEVI
   Little Rock, Arkansas 72201                                                         OF rr'U,n,Of




            RE:   Appeal Denial ofschool Of Choice from Parkers ChapelSchool




  Dear office     ofthe Commissloner:



         Enclosed please find ourappeal lener regarding the denialfrom Parkers ChapelSchool board
  based on School of choice exemption from El Dorado School District and the denial letter we received ln
  the mail.




                                                                          777 Feedmill Road
                                                                                                      w
                                                                          EI Dorado, Arkansas 71730
                                                                          L-870-665-6769




  Enclosures: Appeal letter and denial letter from Parkers Chapel
Case 1:89-cv-01111-SOH Document 35-12                    Filed 08/14/16 Page 8 of 10 PageID #: 114




 Kevin and Kristi McAuliffe
 777 Feedmill Road
 El Dorado, AR 71730

 May 25,2016

 Office of Cornmissions
 Arkansas State Board of Education
 Arkansas Pubic Sohool Of Choice Act Appeals
 Four Capital Mall
 Litde Rock, AR 72201

 Dear Office of Commissions:

 We are concemed parents of threo children who reside in the El Dorado School District
 appealing the decision of denial for School ofChoice from Parkers Chapel School on grounds_
 mat u poraoo School District is exonpt from sohool ofchoice under the 2013 Act, as amended
 in 2015 clue to the two desegregation lawsuits that are still active: Komp, et al. v. Beasley, No
 ED-1048; and Townsend. et al., 1:89-CV-J I I 1 '

 In 2015, we started the process ofa Legal transfer from El Dorado school district to Parkers
 Chapel School Distict hoping to complete a board to board transfer. Tho paperwork was
 conlpleted and we met witl superintendent to tum in paperwork and discuss the next step in the
 process, we were told appfoximately a day later our transfer was denied and at this time we
 iequested to appear at the El Dorado School District Board meetrng to discuss our case. Our
 request to appear before was denied and we were told it was i'llegal for the El Dorado School
 Board to even hear our request.

 our home (?77 Feedmill road El Dorado, AR) is located 1.5 miles from Parkers chapel School
 (401 parkers chapel Rd Eldorado, AR), All of our children have attended Parkers chapel since 4
 year old kindergarten to present time. Korbin and Kenlee are twjns who will begin the 9th grade
 in the 2016-2017 school year and Krislyn will start 5n grade in the 20 I 6-20 I 7 school year.

 I (Kristi McAuliffe) attend Parkers Chapel my entire life and lived in my family home that is
 located one acre next to our home now. Both my parents worked at the school and both my
 sistsrs attefld ?arkers Chapel along with my cousins and then most curently all four of my
 nieces. When my ttree children started Parkos Chapel and the residence question be€ame an
 issue my sister who was a longstanding respective teacher was made guardianship so we could
 continue with Parkers Chapel as our children's school. The reason it has become a current issue
 is that my sister retired and we were told our children would be "grandfathored in". Unclear
 about this issue, we started doing research and we found this was not the case. This is when we
 sta(ed taking measules to transfer the kids Ilom Eldorado Sohool to Parkers Chapel.

 It is very important as parents to stand up for your children and make sure that the best decisions
 are made for them and around them. Education is an important decision in their lives and
 leaming about friends, family aod values is also an important life lesson. Decisions should be
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 made on the all the facts and information that is collected not made based on race. In today's
 society we hear more and more about deoisions that are made based on gender or race. We
 believe the Sohool ofchoice under the 2013 Act, as amended in 2015 was made for importaat
 reasons to help make fair andjust decisions within the individual school if2 campuses were in
 effect but not to refuse a transfer out due to a child's race. The decision shou.ld be basod on the
 Children's best interest and that is our request.

 We have completed proper channels and exhausted all our measures to complete the transfer and
 at this time we appeal to the Arkansas State Board ofEducation as we feel this is a decision that
 is based on misrepresentation ofthe School ofChoice under the 2013 Act, as amended in 2015
 atlowing El Dorado School District to make a transfer decision based solely on race


 At this time, we would ask the Arkansas State board of education to grant our children the
 transfer aom El Dorado school to Parkers chapel giving them the opportunity to complete their
 education at Parkers Chapel. We look forward to hearing that the board has overturned the
 decision that was made and allow our children to continue at Palkers chapel. we appreciate the
 time that you have taken to read our appeal and look forward to hearing your decision soon.


 Contact information for any questions or concems Kristi McAutiIfe (870) 665-6769.

 Sincerely,




 Kevin and Kristi McAuliffe

 Enclosure
    Case 1:89-cv-01111-SOH Document 35-12       Filed 08/14/16 Page 10 of 10 PageID #: 116




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